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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                        Case No.: 19-24766-CIV-WILLIAMS


JANE DOE,

           Plaintiff,

vs.

CARNIVAL CORPORATION
d/b/a CARNIVAL CRUISE LINE,

     Defendant.
_________________________________/

                                             PLAINTIFF’S WITNESS LIST

  PRESIDING JUDGE:                                                  PLAINTIFF’S                 DEFENDANT’S
                                                                    ATTORNEY                    ATTORNEY
  Hon. Kathleen M. Williams
                                                                    Daniel W. Courtney          Curtis Mase
  TRIAL DATE(S):                                                    COURT REPORTER              COURTROOM DEPUTY


  PLF.       DEF. LIVE or BY DIRECT CROSS           ADDRESS               DESCRIPTION OF WITNESS                    EXHIBIT(S)
                 DEPOSITION (est.)   (est.)
  NO.        NO.

      1.           LIVE       60 min.    60 min. 1209 Cranford     Amanda Powell – Plaintiff’s friend and           1, 2
                                                 Place, Greeley,   cabin mate at the time of the subject cruise.
                                                 Colorado          She will testify regarding the night of the
                                                 80631             subject incident. She will also testify as to
                                                                   Plaintiff’s quality of life before and after the
                                                                   incident.

      2.           BY         20 min.            c/o Carnival   Yuliya Kalmayeva – Carnival Guest          3
                   DEPOSITION                    Cruise Line    Services Associate. She will testify as to
                                                 3555 Northwest her experience when the Plaintiff and
                                                 87th Avenue    Amanda reported the incident to her at the
                                                 Miami, Florida Guest Services Desk.
                                                 33178

      3.           BY         60 min.            c/o Carnival   Natalia Molina Franco – Carnival             4-11
                   DEPOSITION                    Cruise Line    Physician. Dr. Molina will testify as to her
                                                 3555 Northwest examination of Plaintiff after the subject
                                                 87th Avenue    incident.
                                                 Miami, Florida
                                                 33178

      4.           BY         30 min.            c/o Carnival   Hitendra Rawat – Carnival Assistant Chief 12
                   DEPOSITION                    Cruise Line    Security Officer. He will testify as to
                                                 3555 Northwest Carnival’s policies and procedures and the
                                                 87th Avenue    investigation of the subject incident.
                                                 Miami, Florida
                                                 33178
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  5.     BY         20 min.            c/o Carnival   Vikas Suyal - Carnival Assistant Chief
         DEPOSITION                    Cruise Line    Security Officer. He will testify as to
                                       3555 Northwest Carnival’s policies and procedures and the
                                       87th Avenue    investigation of the subject incident.
                                       Miami, Florida
                                       33178

  6.     BY         30 min.            c/o Carnival   Vikram Singh – Carnival Chief Security
         DEPOSITION                    Cruise Line    Officer. She will testify as to Carnival’s
                                       3555 Northwest policies and procedures, a previous
                                       87th Avenue    incident that occurred on the Miracle a few
                                       Miami, Florida months before Plaintiff’s, and the
                                       33178          investigation of the subject incident.

  7.     BY         20 min.            c/o Carnival   Rea Datinguinoo – Carnival Security
         DEPOSITION                    Cruise Line    Officer. She will testify as to Carnival’s
                                       3555 Northwest policies and procedures and the
                                       87th Avenue    investigation of the subject incident.
                                       Miami, Florida
                                       33178

  8.     BY         20 min.            c/o Carnival   Ulrico Forni – Carnival Staff Captain. He
         DEPOSITION                    Cruise Line    will testify as to Carnival’s policies and
                                       3555 Northwest procedures and the investigation of the
                                       87th Avenue    subject incident.
                                       Miami, Florida
                                       33178

  9.     LIVE       5 min.             FBI Tampa     Records Custodian for the Federal Bureau 13
                                       Field Office  of Investigation (“FBI”).
                                       5525 W Gray
                                       St, Tampa, FL
                                       33609

  10.    LIVE       45 min.   45 min. c/o Carnival   John Butchko – Carnival Security                  14-16
                                      Cruise Line    Corporate Representative. He will testify
                                      3555 Northwest as to Carnival’s policies and procedures
                                      87th Avenue    and the investigation of the subject
                                      Miami, Florida incident.
                                      33178

  11.    LIVE       120 min. 45 min. c/o Carnival   Suzanne Vazquez – Carnival Corporate       17-37
                                     Cruise Line    Representative. She will testify as to
                                     3555 Northwest Carnival’s policies and procedures and the
                                     87th Avenue    investigation of the subject incident.
                                     Miami, Florida
                                     33178

  12.    LIVE       45 min.   45 min. 13814 Egret    Lance Foster – Security Expert. Mr. Foster
                                      Lane           will testify as to Carnival’s security policies
                                      Clearwater, FL and general security standards.
                                      33762

  13.    LIVE       45 min.   45 min. 6 Cormack        Ross Klein – Cruise Industry Expert. Dr.
                                      Street           Klein will testify regarding the cruise
                                      St. John’s, NL   industry and cruise tourism, specifically
                                      A1C 5S7          regarding sexual assaults that occur on
                                                       cruises.
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      14.       LIVE          60 min.   60 min. 17251 NE 19th Cheri Surloff – Neuropsychology Expert.       38
                                                Avenue        Dr. Surloff will testify on the Plaintiff’s
                                                North Miami   damages.
                                                Beach, FL
                                                33162

      15.       LIVE          90 min.   90 min. c/o Daniel W. Plaintiff, Jane Doe 1                         39-44
                                                Courtney, P.A.,
                                                800 Brickell
                                                Avenue, Suite
                                                1400, Miami,
                                                Florida 33131.




1The name “Jane Doe" is a generic reference to the Plaintiff whose identity should not be public record due to the nature
of this action and the further emotional pain and embarrassment Plaintiff would suffer should her name be revealed in the
public record.
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                                      SOUTHERN DISTRICT OF FLORIDA
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                                                  PLAINTIFF’S EXHIBIT LIST

  PRESIDING JUDGE:                                                       PLAINTIFF’S               DEFENDANT’S
                                                                         ATTORNEY                  ATTORNEY
  Hon. Kathleen M. Williams


  TRIAL DATE(S):                                                         COURT                     COURTROOM
                                                                         REPORTER                  DEPUTY


  PLF.    DEF.     DATE        OBJECTIONS         MARKED     ADMITTED    DESCRIPTION OF EXHIBITS            WITNESS
  NO.     NO.     OFFERED

 1.                                 H, I                                Amanda Powell’s handwritten      Amanda
                                                                        statement to Carnival.           Powell

 2.                                  A                                  Photo of Fredy Anggara           Amanda
                                                                                                         Powell


 3.                                  N                                  Guest Services Log of incident. Yuliya
                                                                                                        Kalmayeva,
                                                                                                        Suzanne
                                                                                                        Vazquez

 4.                            N to shipboard                           Medical Records                  Dr. Natalia
                              medical records;                                                           Molina
                              all other medical
                               records I, R, H,
                                    UP, A
 5.                                   N                                 Retraction of Allegation         Dr. Natalia
                                                                                                         Molina

 6.                                  N                                  Body Chart of Injuries           Dr. Natalia
                                                                                                         Molina

 7.                            A, I, UP, R, H                           Pregnancy Test                   Dr. Natalia
                                  (Exhibit                                                               Molina
                              produced does
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                       not match
                      description)
8.                         N                      Chain of Custody Form              Dr. Natalia
                                                                                     Molina
9.                         N                      Photograph of Plaintiff/ Patient   Dr. Natalia
                                                  Check in                           Molina

10.                  A, R, UP, I, H               Text Message with Camille          Dr. Natalia
                                                                                     Molina, Jane
                                                                                     Doe, Suzanne
                                                                                     Vazquez

11.                        N                      Sail and Sign POS – Medical        Dr. Natalia
                                                  Charges                            Molina, Jane
                                                                                     Doe

12.                      I, R,                    Carnival’s Photo Log depicting     Hitendra
                                                  the Carnival’s Miracle Decks       Rawat, Vikas
                                                  and where the alleged incident     Suyal, Vikram
                                                  occurred.                          Singh, John
                                                                                     Butchko

13.                       H, I                    FBI Notes from the day of the      FBI Records
                     (Incomplete)                 incident.                          Custodian.

14.                        I                      Email with attachments from        John Butchko
                                                  Miracle CSO to shoreside
                                                  regarding subject incident.

15.                        N                      Carnival Cruise Line Security      John Butchko,
                                                  Services Department Sexual         Suzanne
                                                  Assault Policy and Procedures      Vazquez
                                                  (5.02.1 rev 1—8-12-2016)

16.                  I, A, H, R, UP               STOP/Frat power point.             John Butchko,
                                                                                     Suzanne
                                                                                     Vazquez

17.                     I, A, R                   Carnival’s Code of Conduct         Suzanne
                                                                                     Vazquez

18.                       R, I                    Shipboard H.R. Team Carnival       Suzanne
                                                  Orientation Program                Vazquez

19.                  R, UP, I, A, H               RAINN Compliance Report &          Suzanne
                                                  Power Point                        Vazquez

20.                  R, UP, I, A, H               RAINN Ship Site Visit Guide        Suzanne
                                                                                     Vazquez

21.                        N                      Security Schedule                  Suzanne
                                                                                     Vazquez,
                                                                                     Lance Foster

22.                       H, I                    Security Officer Watch Report Suzanne
                                                  dated December 1, 2018 -      Vazquez
                                                  December 2, 2018 by Mary Ann
                                                  Guibao

23.                       H, I                    Security Officer Watch Report      Suzanne
                                                  dated December 2, 2018 by          Vazquez
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                                                 Rea M. Datinguinoo
24.                      H, I                    Daily Security Summary Watch Suzanne
                                                 Report dated December 1, 2018 Vazquez
                                                 - December 2, 2018 by Vikas
                                                 Suyal and Hitendra Rawat

25.                R, I UP (Camera               Initial Camera Log               Suzanne
                      log is of the                                               Vazquez
                     wrong ship)
26.                    R, I, UP, A               Five (5) still-shots from CCTV   Suzanne
                                                 Cameras of Decks 9&10            Vazquez

27.                    R, I, UP                  Carnival Miracle CCTV Camera Suzanne
                                                 Log                          Vazquez

28.                  R, I, UP, A                 Twenty-five (25) still-shots     Suzanne
                                                 from CCTV Cameras of Decks       Vazquez,
                                                 9&10                             Lance Foster,
                                                                                  Jane Doe

29.                  R, I, UP, A                 Security camera photo of Deck Suzanne
                                                 9 forward                     Vazquez

30.                  R, I, UP, A                 Security camera photo of Guest Suzanne
                                                 Services Desk                  Vazquez

31.                       N                      Sail and Sign                    Suzanne
                                                                                  Vazquez,
                                                                                  Jane Doe

32.                       N                      Consent for HIV Testing          Suzanne
                                                                                  Vazquez

33.                       N                      Waiver of Medical Privilege      Suzanne
                                                                                  Vazquez

34.                       N                      Sexual Assault Exam Findings     Suzanne
                                                                                  Vazquez

35.                       N                      Guest Consultation Form          Suzanne
                                                                                  Vazquez

36.                       N                      CBC Results                      Suzanne
                                                                                  Vazquez

37.                 R, I, UP, A, H               Five (5) investigation videos Suzanne
                                                 taken from body worn cameras Vazquez

38.                 R, I, UP, A, H               Future Treatment Summary         Cheri Surloff

39.                      H, I                    Plaintiff’s handwritten statement Jane Doe
                                                 to Carnival.

40.                      H, I                    Plaintiff’s video recorded       Jane Doe
                                                 statement to Carnival (two (2)
                                                 videos).

41.                 R, I, UP, H, A               Continuing Forward – Sexual      Jane Doe
                                                 Assault Brochure
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42.                                 N                               Fun times brochure              Jane Doe

43.                                 N                               Correspondence from Carnival Jane Doe
                                                                    sent to Plaintiff enclosing
                                                                    medical receipt
44.                              R, I, UP                           Photo of Jane Doe with shaved Jane Doe
                                                                    head and head tattoo

45.                            R, I, UP, H to                       Defendant’s Answers to          Suzie
                             legal objections                       Plaintiff’s Interrogatories     Vazquez

      Plaintiff reserves the right to amend and supplement its exhibit list upon proper notice to Defendant.

                                            INDEX TO OBJECTIONS

               A. Authenticity                  LP. Lack of          UP. Unduly                     V. Vague
               I. Inadmissible                  Personal             Prejudicial                    S. Speculation
               Material                         Knowledge            P. Privileged                  L. Leading
               R. Relevancy                     F. Foundation        N. No Objection
               H. Hearsay                       O. Opinion           C. Cumulative
